                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                     Case No. 04-CR-241

NING WEN, et al,

                       Defendant.


ORDER ADOPTING MAGISTRATE JUDGE’S RECOMMENDATION ON MOTIONS
  TO SUPPRESS FISA MATERIALS AND AFFIRMING MAGISTRATE JUDGE’S
               ORDER REGARDING THE WEN ASSET FILE


       The defendant is charged by indictment with violation of export restrictions, related

conspiracies, and money laundering activities. The charges are based in part upon evidence

obtained from electronic surveillance that was authorized pursuant to the foreign intelligence

surveillance act (“FISA”). 50 U.S.C. § 1801 et seq. The defendant has moved to suppress all

evidence obtained as a result of the FISA orders. In addition, Wen seeks disclosure of the FBI asset

file compiled during a time when he acted as an FBI informant.

       Pursuant to the practice of the district, Wen’s motions were referred to the magistrate judge

assigned to the case. In response to the motions, Magistrate Judge Aaron E. Goodstein conducted

an in camera review of both the FISA material file and the Wen asset file. Based upon his review,

Judge Goodstein issued a recommendation and order on April 13, 2005. Judge Goodstein

recommended that the motion to suppress information obtained pursuant to the order of the foreign

intelligence surveillance court be denied. He ordered that the defendant’s request for an evidentiary



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hearing be denied and that all FISA materials would remain under seal and undisclosed to the

defendant. In addition, Magistrate Judge Goodstein ordered that the Government’s request for a

protective order as to the Wen asset file be granted.

       On April 28, 2005, Wen filed his objections to the recommendation and order of the

magistrate judge. Although the objections are filed late, I have nevertheless reviewed the Magistrate

Judge’s recommendation and order and have considered the defendant’s objections. I have also

conducted an in camera review of the FISA materials and the Wen asset file in order to assist in that

review. Based upon my own review of the files, and for the reasons stated in Magistrate Judge

Goodstein’s recommendation and order, I hereby adopt the recommendation of Magistrate Judge

Goodstein and order that the defendant’s motion to suppress evidence obtained as a result of orders

issued under FISA be denied. I also affirm Magistrate Judge Goodstein’s orders denying the

defendant’s request for an evidentiary hearing and maintaining all FISA materials under seal.

Finally, upon my own review of the Wen asset file, I conclude that it does not contain any

exculpatory material and I also affirm Magistrate Judge Goodstein’s order granting the

government’s request for a protective order as to the file.

       SO ORDERED.

       Dated this    20th   day of June, 2005.



                                                        s/ William C. Griesbach
                                                        William C. Griesbach
                                                        United States District Judge




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